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 4
     Attorney for Defendant
 5   LOUISE BOOTH
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 )       CR-F-09-CR 000142 LJO
                                               )
12         Plaintiff,                          )       STIPULATION TO
                                               )       RELEASE PASSPORT UPON
13                                             )       DISMISSAL OF INDICTMENT;
                                               )       REQUEST FOR ORDER
14         v.                                  )       AUTHORIZING CLERK’S
                                               )       OFFICE TO RELEASE
15                                             )       PASSPORT OF LOUISE BOOTH
                                               )
16                                             )
                                               )
17   LOUISE BOOTH et al.                       )
                                               )
18         Defendants.                         )
                                           )
19
20         IT IS HEREBY STIPULATED BETWEEN COUNSEL FOR THE
21   GOVERNMENT AND COUNSEL FOR DEFENDANT AS FOLLOWS:
22         That the case against LOUISE BOOTH, defendant, having been dismissed,
23   her passport previously lodged with the United States District Court Clerk’s Office
24   should be released to LOUISE BOOTH herself or her counsel, KATHERINE
25   HART.
26
27
28                                                 1
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 1   DATED: February 29, 2012             /s//Katherine Hart
 2                                       KATHERINE HART, Attorney for
                                         LOUISE BOOTH
 3
 4   DATED: February 29, 2012            /s/Mark Cullers
                                         MARK CULLERS, Chief, Fresno Office,
 5                                       OFFICE OF THE UNITED STATES
                                         ATTORNEY
 6
 7
 8                                     ORDER
 9         GOOD CAUSE APPEARING and the case against LOUISE BOOTH having
10   been dismissed by the government on February 27, 2012 it is hereby ordered as
11   follows:
12         That the Clerk’s Office of the UNITED STATES DISTRICT COURT OF
13   THE EASTERN DISTRICT is hereby ordered to release the passport of LOUISE
14   BOOTH to defendant LOUISE BOOTH herself or to her counsel, KATHERINE
15   HART, Attorney at Law.
16
17                                       IT IS SO ORDERED.
18   Dated:     March 1, 2012             /s/ Lawrence J. O'Neill
     b9ed48                           UNITED STATES DISTRICT JUDGE
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